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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

              JUAN ARTURO NAMUR-                                CRIMINAL NO.
              MONTALVO,                                         1:05-CR-477-16-CC-GGB
                  Movant,

                       v.                                       CIVIL ACTION NO.
                                                                1:11-CV-0897-CC-GGB
              UNITED STATES OF AMERICA,
                  Respondent.                                   MOTION TO VACATE
                                                                28 U.S.C. § 2255


                       ORDER AND FINAL REPORT AND RECOMMENDATION

                   Juan Arturo Namur-Montalvo (“Montalvo”) has filed a motion to vacate sentence

             under 28 U.S.C. § 2255 (Doc. 1514). Montalvo challenges the constitutionality of his

             235-month sentence that was imposed on September 19, 2008, following a jury verdict

             of guilty on February 7, 2008. (Doc. 1220). Presently before the Court for consideration

             are: (1) Montalvo’s § 2255 motion to vacate (Doc. 1514); (2) the United States of

             America’s (hereinafter “Government”) response to Montalvo’s motion to vacate

             (Doc. 1538); and Montalvo’s motion for reconsideration (Doc. 1609), motion for

             discovery (Doc. 1610), and reply to the government’s response to his motion to vacate

             (Doc. 1616).




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             I.    BACKGROUND

                   Montalvo was charged with conspiracy to possess with intent to distribute cocaine

             and methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count One);

             conspiracy to possess with intent to distribute marijuana, in violation of 21 U.S.C.

             §§ 841(a)(1) and 846 (Count Three); possession with intent to distribute

             methamphetamine, in violation of 21 U.S.C. § 841(a)(1) (Count Eleven); possession with

             intent to distribute cocaine, in violation of 21 U.S.C. § 841(a)(1) (Count Twelve); and

             conspiracy to launder money, in violation of 18 U.S.C. § 1956(h) (Count Seventeen).

             (Doc. 677).

                   Jury selection began on July 9, 2007, but the case could not be tried at that time

             because a jury could not be selected from the available panel. (Doc. 924). The Court

             therefore specially set the trial for January 14, 2008, and found that “the time period of

             the extension is excludable from the Speedy Trial calculations pursuant to Title 18,

             U.S.C., Section 3161(h)(8)(A) in the interest of justice.” (Doc. 924). In the interim

             period, juror questionnaires were sent to prospective jurors in advance of the trial date

             so that the parties could avoid the problems that had occurred with the July 2007 attempt

             to select a jury. (Doc. 1336 at 3).

                   Montalvo, along with co-defendants Juan Pelaes Perez-Urena, Kevin Robinson,

             and Ana Marie Rojas-Rodriguez, proceeded to a jury trial on January 14, 2008.


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             (Doc. 992). On February 7, 2008, the jury found Montalvo guilty on Counts One and

             Twelve, and acquitted him on Counts Three, Eleven, and Seventeen. (Doc. 1030). On

             September 19, 2008, the district court sentenced Montalvo to 235 months of

             imprisonment on Counts One and Twelve, to run concurrently, followed by a five-year

             term of supervised release. (Doc. 1220).

                   Montalvo appealed, and on December 14, 2009, the Eleventh Circuit affirmed his

             conviction and sentence. (Doc. 1482); United States v. Namur-Montalvo, 356 F. App’x

             319 (11th Cir. 2009). Montalvo did not file a petition for writ of certiorari with the

             Supreme Court. On March 14, 2011, Montalvo timely filed the present Motion to

             Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255. (Doc. 1514).

                   Montalvo’s motion contains the following fifteen claims:

             (1) Ground One - counsel was ineffective for failing to investigate and present

                 exculpatory eyewitnesses;

             (2) Ground Two - counsel was ineffective for failing to rebut the testimony of

                 government witnesses;

             (3) Ground Three - counsel was ineffective for failing to prepare Montalvo to testify

                 adequately;

             (4) Ground Four - the government engaged in vindictive prosecution and failed to

                 disclose/correct material false evidence;


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             (5) Ground Five - the Court erred by denying Montalvo’s motion for a judgment of

                 acquittal;

             (6) Ground Six - counsel was ineffective for failing to move for dismissal of the

                 indictment on speedy trial grounds;

             (7) Ground Seven - (A) the Court erred by denying severance from Perez-Urena, and

                 (B) counsel was ineffective for failing to obtain severance from Perez-Urena;

             (8) Ground Eight - the prosecutor improperly struck all the prospective Hispanic jurors

                 because they were fluent in the Spanish language;

             (9) Ground Nine - counsel was ineffective at sentencing for failing to object to the

                 Court’s imposition of a sentence greater than that authorized by the jury’s verdict;

             (10) Ground Ten - the Court erred by imposing a sentence greater than that authorized

                 by the jury’s verdict;

             (11) Ground Eleven - the Court erred by imposing a sentence that was disproportionate

                 to the sentences received by similarly situated defendants;

             (12) Ground Twelve - counsel was ineffective on appeal for failing to raise claims of

                 prosecutorial vindictiveness and misconduct, insufficiency of the evidence, failure

                 to sever, and improper striking of prospective Hispanic jurors;

             (13) Ground Thirteen - counsel was ineffective on appeal for failing to raise claims

                 contesting the drug amount attributed to Montalvo, and the reasonableness of his


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                   sentence based on the fact that it was disproportionate compared to similarly

                   situated defendants;

             (14) Ground Fourteen - counsel was ineffective for failing to file a petition for writ of

                   certiorari with the Supreme Court;

             (15) Ground Fifteen - counsel was ineffective based on the cumulative errors as set forth

                   in Grounds One through Fourteen.

                    The relevant facts with respect to Montalvo’s claims are discussed in context

             below.

             II.    DISCUSSION

                    A.     GROUNDS FOUR, FIVE, SEVEN-(A), TEN AND ELEVEN ARE
                           PROCEDURALLY BARRED.

                    Grounds Four, Five, Seven-(A), Ten and Eleven all allege errors by the

             government or the court that could have been raised on direct appeal.

                    Generally, a petitioner must advance an available challenge to his conviction on

             direct appeal, or else this Court must consider the challenge procedurally barred in a

             § 2255 proceeding. Mills v. United States, 36 F.3d 1052, 1055-56 (11th Cir. 1994).

             “[Montalvo] can avoid a procedural bar only by establishing one of the two exceptions

             to the procedural default rule. Under the first exception, [Montalvo] must show cause

             for not raising the claim of error on direct appeal and actual prejudice from the alleged



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             error.” Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004) (citing Bousley v.

             United States, 523 U.S. 614, 622 (1998)). “Under the second exception, a court may

             allow a defendant to proceed with a § 2255 motion despite his failure to show cause for

             procedural default if ‘a constitutional violation has probably resulted in the conviction

             of one who is actually innocent.’” Lynn, 365 F.3d at 1234-35 (quoting Mills, 36 F.3d

             at 1055).

                   “[T]o show cause for procedural default, [Montalvo] must show that some

             objective factor external to the defense prevented [Montalvo] or his counsel from raising

             his claims on direct appeal and that this factor cannot be fairly attributable to

             [Montalvo’s] own conduct.” Id. at 1235 (citing Smith v. Jones, 256 F.3d 1135, 1145

             (11th Cir. 2001)). “Actual prejudice” requires Montalvo to show that the alleged error

             “worked to his actual and substantial disadvantage, infecting his entire trial with error

             of constitutional dimensions.” Reece v. United States, 119 F.3d 1462, 1467 (11th Cir.

             1997) (citation omitted).

                   Alternatively, Montalvo may still avoid the procedural bar by showing that the

             failure to address the alleged error would result in a fundamental miscarriage of justice,

             meaning that “the alleged error has probably resulted in the conviction of one who is

             actually innocent.” Jones v. United States, 153 F.3d 1305, 1308 (11th Cir. 1998)




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             (citation and internal quotation marks omitted). “[A]ctual innocence means factual

             innocence, not mere legal insufficiency.” Bousley, 523 U.S. at 623 (citation omitted).

             Accordingly, Montalvo must establish that “in light of all of the evidence, it is more

             likely than not that no reasonable juror would have convicted him.” Id.

                   Montalvo has not met any of the exceptions that are necessary to overcome the

             procedural bar to raising claims that could have been raised on direct appeal.1

             Accordingly, these claims are procedurally barred.

                   B.     GROUND EIGHT IS PROCEDURALLY BARRED BECAUSE IT
                          WAS RAISED AND DECIDED ON DIRECT APPEAL

                   In Ground Eight, Montalvo challenges the government’s use of its peremptory

             strikes on three prospective Hispanic jurors on the ground that they were fluent in

             Spanish. Montalvo raised this argument on direct appeal, and it was rejected by the

             Eleventh Circuit. Namur-Montalvo, 356 F. App’x at 320-21. Montalvo cannot re-

             litigate in his § 2255 petition matters that were decided against him in his direct appeal.

             E.g. United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000); Thomas v. United




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                     In Grounds Twelve and Thirteen of his motion, Montalvo alleges that the
             claims were not raised on direct appeal due to ineffective assistance of counsel.
             However, as discussed below with respect to those grounds, Montalvo has not
             established that his attorney’s performance failed to meet the applicable standard for
             effective assistance of counsel.
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             States, 572 F.3d 1300, 1304 (11th Cir. 2009). Thus, Montalvo is not entitled to relief

             on these claims.

                    C.     MONTALVO’S CLAIMS OF INEFFECTIVE ASSISTANCE OF
                           COUNSEL ARE WITHOUT MERIT.

                    Montalvo’s remaining claims allege that his counsel was ineffective at trial and

             on appeal.

                   The Supreme Court precedent applicable to ineffective assistance of counsel claims

             was set forth in Strickland v. Washington, 466 U.S. 668, 698 (1984). To make a

             successful claim of ineffective assistance of counsel, a petitioner must show that: (1) his

             counsel’s performance was deficient; and (2) that the deficient performance prejudiced

             his defense. Strickland, 466 U.S. at 697. A petitioner must first show that “in light of all

             the circumstances, the identified acts or omissions were outside the wide range of

             professionally competent assistance.” Id. at 690. The court must be “highly deferential”

             and must “indulge a strong presumption that counsel’s conduct falls within the wide

             range of reasonable professional assistance.” Id. at 689. To make such a showing, a

             petitioner must demonstrate that “no competent counsel would have taken the action that

             his counsel did take.” United States v. Freixas, 332 F.3d 1314, 1319-20 (11th Cir. 2003)

             (quotation omitted). “The test has nothing to do with what the best lawyers would have

             done. Nor is the test even what most good lawyers would have done. We ask only



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             whether some reasonable lawyer at the trial could have acted, in the circumstances, as

             defense counsel acted at trial.” White v. Singletary, 972 F.2d 1218, 1220 (11th Cir.

             1992).

                   In order to meet the second prong of the test, the petitioner must demonstrate that

             counsel’s unreasonable acts or omissions prejudiced him. That is, the petitioner “must

             show that there is a reasonable probability that, but for counsel’s unprofessional errors,

             the result of the proceeding would have been different.” Strickland, 466 U.S. at 694.

                   The Strickland standard also applies to ineffective assistance of appellate counsel

             claims. See Clark v. Crosby, 335 F.3d 1303, 1310 (11th Cir. 2003). To render effective

             assistance on appeal, counsel need not present every argument, regardless of merit,

             requested by a petitioner. See Jones v. Barnes, 463 U.S. 745, 750 (1983). In order for

             an ineffective assistance of appellate counsel claim to have merit, the court must decide

             whether the arguments that counsel failed to raise were significant enough to have

             affected the outcome of the appeal. Appellate counsel is not ineffective for failing to

             raise claims “reasonably considered to be without merit.” Nyhuis, 211 F.3d at 1344

             (internal citations omitted).

                   1.     Failure to Call Witnesses

                   Montalvo testified at trial, but his counsel did not call any other defense witnesses.

             In Ground One, Montalvo alleges that his counsel was ineffective for failing to


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             investigate and present alleged exculpatory eyewitnesses. In Ground Two, Montalvo

             alleges that counsel was ineffective for failing to call witnesses to rebut the testimony of

             government witnesses.

                   Montalvo lists in his petition and affidavit approximately fourteen people that he

             contends could have been interviewed and called as witnesses at trial. (Docs. 1514 at 3-6;

             1514-1 at 5-9). Montalvo proffers that these potential witnesses would have testified that

             they saw Montalvo frequently and had known him for a period of time; that they never

             heard him discuss drugs; that they never saw him with large sums of money; and that they

             never heard or saw him trying to buy or sell drugs. Montalvo alleges that his counsel was

             ineffective for not calling these witnesses at trial.

                   Montalvo does not contend that these witnesses observed or knew anything about

             the events that formed the basis of the charges in the indictment. Thus, at most, the listed

             individuals would have been character witnesses. Failure to call character witnesses is

             a strategic decision that does not rise to the level of ineffective assistance of counsel. See

             United States v. Cockrell, 720 F.2d 1423, 1428 (5th Cir. 1983).

                   To the extent that Montalvo contends that his counsel should have called other

             witnesses to confirm that he did not commit the conduct charged in the indictment,

             Montalvo has not identified any such witnesses. Thus, this contention is without merit.




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                   2.      Cross-examination of government witnesses

                   Montalvo also alleges in Ground two that his counsel was ineffective for his failure

             to adequately cross-examine government witnesses. Specifically, Montalvo asserts that

             counsel “failed to get witnesses to admit to readily available facts that fully support

             Montalvo’s defense,” including that Montalvo was not a person of interest, Montalvo was

             not on any recordings, Montalvo did not buy or sell any drugs, Montalvo was not

             mentioned in the wiretap calls, and there was no physical evidence or surveillance

             showing Montalvo’s involvement in drug trafficking other than his presence on the day

             of his arrest. (Doc. 1514 at 7-8).

                   However, Montalvo’s counsel did argue that there was a lack of evidence

             implicating Montalvo. He specifically argued that notwithstanding extensive recordings,

             there were no recorded calls involving Montalvo. He also argued that Montalvo was not

             observed in any of the government’s surveillance. (Doc. 1533 at 60-80). Moreover,

             Montalvo’s counsel brought out, through cross-examination of government witnesses,

             those areas of the government’s case where evidence against Montalvo was lacking.

             (Docs. 1343 at 1195-1197; 1345 at 1492-1493; 1346 at 1679-1682, 1723-1726; 1347 at

             1781-1782).

                   To the extent that counsel could have asked different or additional questions, the

             questioning of witnesses is a matter of trial strategy that does not support a finding of


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             ineffective assistance of counsel. See United States v. Rubin, 433 F.2d 442, 445 (5th Cir.

             1970).

                   3.      Preparation of Montalvo to testify

                   In Ground Three, Montalvo asserts that counsel was ineffective for failing to

             adequately prepare Montalvo to testify at trial.

                   However, Montalvo testified that he was a legitimate businessman who sold

             produce, that his association with his co-defendants did not involve drugs, and that he

             did not knowingly participate in any drug transaction. He was consistent in his testimony

             and did not make any damaging admissions. (Doc. 1349 at 2154-2183). Montalvo has

             not shown how counsel was deficient in preparing him to testify. Even if Montalvo could

             have done a better job with more practice, under the Strickland standard, failure to perfect

             Montalvo’s testimony does not constitute ineffective assistance of counsel.

                      4.   Failure to move to dismiss indictment on speedy trial grounds

                   In Ground Six, Montalvo asserts that his counsel was ineffective for failing to

             move for dismissal of the indictment on the basis of the Speedy Trial Act.

                   The Speedy Trial Act provides that a criminal defendant must be tried within 70

             days of the filing of an indictment or an arraignment, whichever is later. 18 U.S.C.

             § 3161(c)(1). If a case involves multiple defendants, the 70-day period begins to run after

             the last co-defendant is indicted or arraigned. United States v. Schlei, 122 F.3d 944, 985


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             (11th Cir. 1997). Certain events, including delays resulting from pretrial motions and

             continuances, constitute “excludable” time and toll the speedy trial clock. See 18 U.S.C.

             § 3161(h); Chambliss v. United States, 384 F. App’x 897, 898 (11th Cir. 2010).

                   With regard to the period prior to July 9, 2007 (the first trial date), there was no

             Speedy Trial Act violation because there was sufficient excludable time due to the

             pending motions of co-defendants. (Doc. 859 (setting hearing on pending motions for

             June 29, 2007)).

                   With regard to the period between July 9, 2007 and the beginning of trial on

             January 14, 2008, the district court found that “the time period of the extension is

             excludable from the Speedy Trial calculations pursuant to Title 18, U.S.C., Section

             3161(h)(8)(A) in the interest of justice.” (Doc. 924). “If the trial court determines that

             the ‘ends of justice’ require the grant of a continuance, and makes the required findings,

             any delay is excludable under § 3161(h)(8)(A) of the Speedy Trial Act.” United States

             v. Twitty, 107 F.3d 1482, 1489 (11th Cir. 1997) (emphasis in original).

                   Even if the delay in scheduling the trial constituted a violation of the Speedy Trial

             Act because of the district court’s failure to make specific findings, Montalvo’s claim is

             without merit. The district court would have granted a dismissal without prejudice

             because of the serious nature of the charges and because the delay would not have

             prejudiced Montalvo. The government then would have re-indicted Montalvo on the


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             same charges and the outcome would have been the same. Thus, Montalvo was not

             prejudiced by counsel’s failure to move for dismissal under the Speedy Trial Act. See

             Chambliss, 384 F. App’x at 898-99 (finding that § 2255 petitioner did not suffer prejudice

             when his counsel did not move to dismiss for Speedy Trial Act violation because

             dismissal would have been without prejudice and government would have re-indicted the

             case); see also United States v. Rushin 642 F.3d 1299, 1310 n. 12 (10th Cir. 2011)

             (collecting cases holding that where an indictment would have been dismissed without

             prejudice, a defendant could not show prejudice based on trial counsel’s failure to seek

             dismissal under the Speedy Trial Act).

                   5.     Failure to obtain severance from co-defendant Perez-Urena

                   In Count Seven - (B), Montalvo claims that counsel was ineffective for failing to

             obtain his severance from co-defendant Perez-Urena at trial because “had the

             Government been compelled to present evidence solely against Montalvo, it is more

             likely than not that the result of the proceeding would have been an acquittal.” (Doc. 1514

             at 14-15). This ground is without merit because Montalvo has not shown that he was

             entitled to a severance from his co-defendant.

                   Generally, defendants who are jointly indicted should be tried together. United

             States v. Leavitt, 878 F.2d 1329, 1340 (11th Cir. 1989). This rule is particularly

             applicable to conspiracy cases. United States v. Castillo-Valencia, 917 F.2d 494, 498


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             (11th Cir. 1990). In order to obtain a severance of his case from that of his alleged co-

             conspirators, the defendant must show that without a severance, he will suffer compelling

             prejudice and will be unable to receive a fair trial. United States v. Puig, 810 F.2d 1085,

             1088-89 (11th Cir. 1987). Montalvo has made no showing that he suffered compelling

             prejudice and did not receive a fair trial because he was joined with his co-defendants for

             trial. Thus, counsel was not ineffective for failing to obtain a severance.

                   6.     Failure to object to district court’s imposition of a sentence greater
                          than that authorized by the jury’s verdict

                   In Ground Nine, Montalvo asserts that his counsel was ineffective at sentencing

             for failing to object to the district court’s imposition of a sentence greater than that

             authorized by the jury’s verdict. (Doc. 1514 at 15-17). The jury found that the drug

             conspiracy involved at least five kilograms of a mixture or substance containing a

             detectable amount of cocaine, and at least 500 grams of a mixture or substance containing

             a detectable amount of methamphetamine. (Doc. 1030 at ¶¶ 3(a), 3(b), 3(c)). The jury

             also found that the cocaine possession offense involved at least five kilograms of a

             mixture or substance containing a detectable amount of cocaine. (Doc. 1030 at ¶ 13(a)).

             Thus, the statutory maximum penalty for each count was life imprisonment. 21 U.S.C.

             §§ 841(b)(1)(A)(ii) and (viii); 846. The sentence Montalvo received, 235 months of




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             imprisonment, was below the statutory maximum sentence authorized by the jury’s

             verdict.

                   Montalvo may have intended to argue that his base offense level should have been

             based on five kilograms of cocaine, and that his counsel was ineffective for failing to

             advance that argument. If so, Montalvo overlooks the fact that the jury found that his

             offenses involved at least five kilograms of cocaine, not simply five kilograms of

             cocaine.

                   Moreover, Montalvo’s counsel did challenge the quantity of drugs used to arrive

             at Montalvo’s base offense level. Counsel argued that the correct quantity of drugs

             attributable to Montalvo was 41 kilograms of cocaine (the drugs seized from the Ford

             Explorer Montalvo was driving on September 13, 2005), resulting in a base offense level

             of 31 (after a reduction for minor role). (Doc. 1351 at 3-12, 22-23). Counsel objected

             to the additional 545 kilograms of marijuana and 2.7 kilograms of methamphetamine that

             were included in the amended Pre-Sentence Report that resulted in a base offense level

             of 38. (Doc. 1351 at 3-12, 22-23; PSR at ¶¶ 100,104). However, the district court

             overruled counsel’s objection and found that the cocaine, marijuana and

             methamphetamine were all attributable to Montalvo, thereby giving Montalvo an initial

             base offense level of 38. (Doc. 1351 at 23-24). Counsel cannot be deemed ineffective

             when he advanced an argument that was rejected by the district court.


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                   7. Ineffective Assistance of Counsel on Appeal

                   Montalvo asserts in Grounds Twelve and Thirteen that his counsel was ineffective

             on appeal for failing to raise the following issues: (1) the government engaged in

             vindictive prosecution and prosecutorial misconduct; (2) the evidence was insufficient

             to uphold Montalvo’s convictions on Counts One and Twelve; (3) failure to sever the

             trials of Montalvo and Perez-Urena was error; (4) the prosecutor improperly struck all the

             prospective Hispanic jurors because they were fluent in the Spanish language; (5) the

             drug amount attributed to Montalvo was error; and (6) Montalvo’s sentence was

             unreasonable based on the fact that it was disproportionate compared to similarly situated

             defendants. (Doc. 1514 at 20-22). In Ground Fourteen, Montalvo asserts that counsel

             was ineffective for failing to file a petition for a writ of certiorari in the Supreme Court,

             and in Ground Fifteen, Montalvo asserts that counsel was ineffective based on the

             cumulative errors as set forth in Grounds One through Fourteen.

                   On appeal, counsel for Montalvo appropriately raised a few key issues, namely, the

             following claims: (1) the district court erred by denying Montalvo’s Batson challenge

             as to three Hispanic jurors that were struck by the prosecution because they were fluent

             in the Spanish language; (2) the district court erred by including methamphetamine and

             marijuana in Montalvo’s base offense level calculation; and, (3) the district court erred

             by finding that Montalvo was not entitled to a sentencing reduction for minor role. See


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             Namur-Montalvo, 356 F. App’x at 320. Thus, Montalvo’s assertion that his counsel was

             ineffective for failing to raise claims that the prosecutor improperly struck all the

             prospective Hispanic jurors because they were fluent in the Spanish language, and that

             the drug amount attributed to Montalvo was error, is contradicted by the record.

                     The remaining claims that Montalvo asserts should have been raised would not

             have been meritorious on appeal; thus, counsel was not ineffective for failing to raise

             them.

                           (a) Vindictive prosecution/prosecutorial misconduct

                     Montalvo alleges that his counsel should have argued on appeal that he was a

             victim of vindictive prosecution because the government added additional charges after

             he refused to plead guilty. (Doc. 1514 at 10-11, 20). Montalvo was charged with

             additional counts in two superseding indictments. The first superseding indictment also

             added ten new defendants. (Doc. 140).

                     Even assuming the government was motivated to add additional charges because

             Montalvo declined to plead guilty, such conduct would not have been grounds for any

             relief for Montalvo. The government may bring new charges against a defendant after

             a defendant refuses to plead guilty. See Bordenkircher v. Hayes, 434 U.S. 357, 365

             (1978) (finding that prosecutor, who carried out threat made during plea negotiations and

             re-indicted the defendant on more serious charges after the defendant refused to plead


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             guilty, “no more than openly presented the defendant with the unpleasant alternatives of

             forgoing trial or facing charges on which he was plainly subject to prosecution”).

                   Montalvo also claims that the prosecutors engaged in misconduct when they failed

             to disclose or correct false evidence that Montalvo’s alias was “Cauliflower,” and that the

             government’s erroneous contention that Montalvo was “Cauliflower” prejudiced his

             ability to defend himself. (Doc. 1514 at 11-12). The original indictment and the first

             superseding indictment listed Montalvo’s alias as “Cauliflower.”            (Docs. 1, 140).

             However, the second superseding indictment on which Montalvo was tried did not list an

             alias for Montalvo. (Doc. 677). The government apparently concedes that it was

             mistaken in its original contention that Montalvo’s alias was “Cauliflower.” However,

             Montalvo does not contend that the government asserted at his trial that his alias was

             “Cauliflower.” Montalvo had ample time to prepare for trial after the second superseding

             indictment eliminated the alleged alias. Thus, Montalvo was not prejudiced in any way

             by the initial erroneous reference in the first two indictments to the alias of “Cauliflower.”

             Because there was no prejudice, counsel was not ineffective in failing to raise this issue

             on appeal.

                   Montalvo additionally asserts that the government failed to correct false testimony

             by testifying co-defendant Luna-Jiminez because, according to Montalvo, Luna-Jiminez

             denied knowledge of his previous 1994 conviction and his alias of Juan Manuel Vargas.


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             (Doc. 1514 at 12). This claim is contradicted by the record. Luna-Jiminez’s plea

             agreement specifically sets forth his prior 1994 conviction, and the fact that he used the

             alias Juan Manuel Vargas. (Doc. 548 at ¶ 3). Further, the government brought this

             information out at trial during the direct examination of Luna-Jiminez, (Doc. 1339 at

             420-421), and during cross-examination, Luna-Jiminez again admitted the conviction and

             alias. (Doc. 1340 at 586-87, 646, 662).

                   Because Montalvo’s claims of prosecutorial vindictiveness and misconduct are

             without merit, counsel was not ineffective for failing to raise these claims on appeal.

                          (b)   Insufficiency of the Evidence

                   Montalvo contends that his counsel was ineffective for not raising insufficiency of

             the evidence on appeal.

                   Montalvo was convicted of Count One, which charged conspiracy to possess with

             intent to distribute cocaine and methamphetamine, and Count Twelve, which charged

             possession of cocaine with intent to distribute. (Doc. 677).

                   Montalvo was alleged to be part of a conspiracy in which large quantities of

             narcotics were regularly brought to Atlanta in tractor trailers from Mexico. Beginning

             in March 2005, Montalvo sold “cover loads” or vegetables in which the illegal drugs were

             hidden. (Doc. 1339 at 425-433; 483-486).




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                   There was ample evidence at trial to establish that Montalvo knowingly

             participated with other individuals, including co-defendant Luna-Jimenez, in picking up

             a delivery of 41 kilograms of cocaine from an undercover agent in September 2005.

             Montalvo drove the vehicle that met an undercover agent who was supplying the cocaine

             in a controlled delivery. (Doc. 1346 at 1670-71). Montalvo was present and participated

             in conversations about the cocaine. (Doc. 1340 at 560-61). He observed the transfer of

             the duffle bags containing the cocaine into the vehicle that he was driving. (Doc. 1346

             at 1677).

                   While the evidence with respect to Montalvo’s personal involvement with

             methamphetamine was less than that with respect to his involvement with the cocaine,

             there was sufficient evidence to support his conviction. On August 19, 2005, three of

             Montalvo’s co-defendants were arrested in Florida for attempting to sell approximately

             2,643 grams of methamphetamine to an undercover law enforcement officer and a

             confidential source.   (Docs. 1339 at 528-41; 1342 at 972-73; 1348 at 2034-36).

             Following those arrests, Luna-Jimenez gave Montalvo a kilogram of cocaine worth

             approximately $18,000-$19,000 for Montalvo to sell and use the proceeds to post bond

             for co-defendants Robinson and Casteneda. (Doc. 1339 at 540-41). Montalvo thereafter

             drove to Florida and posted the bonds. (Docs. 1345 at 1555-56; 1349 at 2156-58).




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                   On appeal, Montalvo’s counsel argued with respect to sentencing, that there was

             no evidence that Montalvo was involved in the methamphetamine transaction that was

             added to his base offense level as relevant conduct. The Eleventh Circuit rejected this

             argument. Namur-Montalvo, 356 F. App’x at 320.

                   When reviewing a sufficiency of the evidence claim, an appellate court must

             examine the evidence in the light most favorable to the government and must make all

             reasonable inferences and credibility choices in the government’s favor. United States v.

             Silvestri, 409 F.3d 1311, 1327 (11th Cir. 2005). A guilty verdict will not be disturbed

             unless, “given the evidence in the record, ‘no trier of fact could have found guilt beyond

             a reasonable doubt.’” Id. (quoting United States v. Lyons, 53 F.3d 1198, 1202 (11th Cir.

             1995)). The government does not have to prove that the defendant knew the particular

             controlled substance that was involved in the conspiracy to possess with intent to

             distribute controlled substances. United States v. Sanders, 668 F.3d 1298, 1310 (11th

             Cir. 2012).

                   Under the applicable standards, a claim of insufficiency of the evidence would not

             have been successful. Thus, Montalvo’s counsel was not ineffective for failing to raise

             this claim on appeal.




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                           (c)   Severance from co-defendant

                   As discussed above, Montalvo had no right to be severed from his co-defendant

             for trial. Thus, it was not ineffective assistance for counsel to fail to argue severance on

             appeal.

                           (d)   Unreasonable Sentence

                   Montalvo contends that his counsel was ineffective for not arguing on appeal that

             his sentence was unreasonable because it was disproportionate to similarly situated

             defendants.2 In particular, Montalvo alleges that his sentence was disproportionate to co-

             defendants Deleon, Luna-Jimenez, and Rojas-Rea who received sentences of 210 months,

             nine years, and 40 months, respectively. (Doc. 1514 at 18-19).

                   Disparity between the sentences given to co-defendants is generally not an

             appropriate basis for relief on appeal. See United States v. Regueiro, 240 F. 3d 1321,

             1325-26 (11th Cir. 2001). Montalvo’s sentence was in the low end of his sentencing

             guideline range, and the district court stated that it took the § 3553 factors into

             consideration. A sentence within the applicable sentencing guidelines range adequately

             takes into consideration the need for unwarranted sentence disparities. See United States

             v. Chotas, 968 F.2d 1193, 1197-98 (11th Cir. 1992) (holding that disparate sentencing


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                    When imposing a sentence, one of the factors the court must consider is “The
             need to avoid unwarranted sentence disparities among defendants with similar records
             who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).
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             among co-defendants was adequately considered by the Sentencing Commission and is

             therefore not an appropriate ground for departure); United States v. Talley, 431 F.3d 784,

             788 (11th Cir. 2005) (the court “ordinarily . . . expect[s] a sentence within the Guideline

             range to be reasonable.”).    Montalvo has not shown that his case falls outside these

             general rules. For these reasons, his attorney was not ineffective for failure to argue on

             appeal that Montalvo received an unreasonable sentence.

                          (e)    Failure to file a petition for writ of certiorari

                   In Ground Fourteen, Montalvo asserts that his counsel was ineffective for failing

             to petition for a writ of certiorari with the Supreme Court. (Doc. 1514 at 22). Criminal

             defendants do not have a constitutional right to counsel on applications for review in the

             Supreme Court. Ross v. Moffitt, 417 U.S. 600, 616-18 (1974). Thus, counsel cannot be

             found to be ineffective for failure to pursue an appeal in the Supreme Court. See

             Richards v. United States, 406 F. App’x 447, 447 (11th Cir. 2010) (holding that case law

             foreclosed a defendant’s claim that her appellate attorney was ineffective for failing to

             file petition for writ of certiorari in Supreme Court).

                          (f)    Cumulative errors

                   Montalvo alleges in Count Fifteen that his counsel was ineffective based on the

             cumulative errors set forth in all of the other grounds. However, there is no basis for

             finding ineffective assistance of counsel unless the defendant shows how specific errors


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             of counsel undermined the reliability of the findings of guilt. Forrest v. Fla. Dep't of

             Corr., 342 F. App’x 560, 564-65 (11th Cir. 2009). As discussed above, none of

             Montalvo’s individual claims of ineffective assistance have merit. Even considered in

             combination, there is no basis for this court to conclude that Montalvo’s counsel’s

             performance violated the standards set forth in Strickland. For this reasons, Ground

             Fifteen is without merit.

             IV. CERTIFICATE OF APPEALABILITY

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C. §

             2253(c)(2), a certificate of appealability shall not issue unless “the applicant has made a

             substantial showing of the denial of a constitutional right.” A prisoner satisfies this

             standard by demonstrating that reasonable jurists would find that the district court’s

             assessment of his constitutional claims is debatable or wrong and that any dispositive

             procedural ruling by the district court is likewise debatable. See Miller-El v. Cockrell,

             537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

                   Montalvo has failed to make a substantial showing of the denial of a constitutional

             right. Accordingly, I RECOMMEND that a certificate of appealability be DENIED.




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             V. CONCLUSION

                  Based on the foregoing, I RECOMMEND that Montalvo’s motion to vacate

             sentence (Doc. 1514) be DENIED.

                  I ORDER that Montalvo’s motion for reconsideration (Doc. 1609), in which he

             seeks reconsideration of my ruling denying his motion to strike the government’s

             response (Doc. 1600), and Montalvo’s motion for discovery (Doc. 1610) be DENIED.

                  I FURTHER RECOMMEND that a certificate of appealability be DENIED.

                  The Clerk is DIRECTED to terminate the referral to me.

                  IT IS SO ORDERED AND RECOMMENDED, this 8th day of August, 2012.




                                                GERRILYN G. BRILL
                                                UNITED STATES MAGISTRATE JUDGE




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